    Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 1 of 24                               PageID #: 67




                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE


A.M., a minor, by and through her mother,                    )
SHAEL NORRIS                                                 )
                                                             )
                        Plaintiff                            )
                                                             )
v.                                                           )
                                                                  Case No. 2:19-cv-00466-LEW
                                                             )
                                                             )
CAPE ELIZABETH SCHOOL DISTRICT, et al.                       )
                                                             )
                                                             )
                       Defendants                            )



      MEMORANDUM OF LAW IN OPPOSITION TO MOTION FOR TEMPORARY
       RESTRAINING ORDER OF DEFENDANTS CAPE ELIZABETH SCHOOL
        DEPARTMENT, DONNA WOLFROM, JEFFREY SHEDD AND NATHAN
                             CARPENTER


                                             INTRODUCTION

         Plaintiff Shael Norris has filed this suit on behalf of her daughter, A.M., a 15-year-old

student at Cape Elizabeth High School, claiming that the Defendants, the Cape Elizabeth School

Department1 (the “School Department”) and three individual administrators, Donna Wolfrom,

Jeffrey Shedd and Nathan Carpenter, violated A.M.’s right to free speech when they disciplined

her for posting and disseminating the following statement in school: “THERE’S A RAPIST IN

OUR SCHOOL, AND YOU KNOW WHO IT IS.” The statement was unfounded; extremely

disruptive and defamatory; and violated the rights of the student she falsely accused. It is




1
 Plaintiff’s Complaint names the Cape Elizabeth School District as the Defendant. The entity, a municipal school
administration unit, operates under the name is Cape Elizabeth School Department.
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 2 of 24                        PageID #: 68




therefore not protected speech under the First Amendment and Plaintiff’s motion for a temporary

restraining order must be denied.

                                    FACTUAL BACKGROUND

   1. The sexual violence allegation and investigation

       On September 16, 2019, several sticky notes stating “THERE’S A RAPIST IN OUR

SCHOOL, AND YOU KNOW WHO IT IS” were discovered in a second floor girls’ bathrooms

at Cape Elizabeth High School (“CEHS”). Shedd Decl. ¶ 7; Carpenter Decl. ¶ 5. Within

minutes after the notes were posted, a concerned student brought them to the main office.

Carpenter Decl. ¶ 5. Approximately two hours later, several more notes referring to a rapist in

the school were posted in a different girls’ bathroom on the first floor of the school, and those

notes were also reported to school administration. Shedd Decl. ¶ 8; Carpenter Decl. ¶ 10.

       Upon review of the notes, school administrators understood them to constitute an

accusation of rape against a specific individual. See Wolfrom Decl. ¶ 2; Stankard Decl. ¶ 9;

Shedd Decl. ¶ 9; Carpenter Decl. ¶ 6. Although the administrators did not at that point know the

identity of the individual, they believed that the author of the notes did know the identity of the

individual they were targeting as a “rapist.” Concerned about the safety of students in the

school, the administrators immediately began a thorough investigation to determine who posted

the notes, the identity of the alleged rapist and the factual basis for the accusation. Shedd Decl. ¶

10; Carpenter Decl. ¶¶ 7-9, 11; Stankard Decl. ¶ 7; Wolfrom Decl. ¶ 2.

       Administrators interviewed dozens of students and very quickly learned that a number of

students interpreted the accusation as referring to a specific individual, an African-American

male student at the school (“Student 1”). Shedd Decl. ¶ 12; Stankard Decl. ¶ 12. One of the

students interviewed was Plaintiff A.M. Carpenter Decl. ¶¶ 8. In that interview, A.M. denied



                                                  2
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 3 of 24                      PageID #: 69




knowing anything about the notes, but did state that she had heard rumors that there was a rapist

in the school. Shedd Decl. ¶ 13; Carpenter Decl. ¶¶ 8.

         Administrators heard from other students who were interviewed that Student 1 was

rumored to have committed several sexual assaults. Shedd Decl. ¶ 14; Carpenter Decl. ¶ 12;

Stankard Decl. ¶ 12. Administrators were aware of one incident that occurred between Student 1

and another student outside of school the previous year that had been dealt with to the

satisfaction of both parties. See Carpenter Decl. ¶¶ 4, 7. In the interviews, however, they heard

several other accusations against Student 1 and they meticulously followed every lead they

received, Stankard Decl. ¶ 11; Carpenter Decl. ¶ 15. After speaking directly to an alleged victim,

reviewing video tapes and interviewing students, the administrators determined that the

accusations were false. See Shedd Decl. Ex. 3 at p.2. To the extent it could be established by this

very thorough investigation, the administration determined that here was no known rapist in the

school; there was no known ongoing threat to students of sexual violence; the school was safe.

Id.

      2. The bullying investigation

         As administrators were completing their investigation, they became aware that Student 1

was suffering the consequences of the false allegations. Shedd Decl. ¶¶ 16-20; Carpenter Decl.

¶¶ 20-21. Specifically, because of the widespread rumors sparked by the sticky notes accusing

Student 1 of being a rapist, he was being ostracized by his peers and was afraid to come to

school. Shedd Decl. ¶¶ 17-19. Student 1 and his parents complained that he was being bullied.

Shedd Decl. ¶ 20; Carpenter Decl. ¶ 21. School administration thus began a separate

investigation into Student 1’s bullying complaint under the School Board Bullying Policy) JICK

and JICK-R.) Shedd Decl. ¶¶ 21-22; Carpenter Decl. ¶ 21.



                                                3
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 4 of 24                        PageID #: 70




       In conducting the bullying investigation, the administrators were of course aware that

Student 1 is African American, and Student 1 and his mother expressed concerns that he was

being targeted because of his race. Carpenter Decl. ¶ 22. A.M. herself, in discussions with other

students, contended that the school was giving A.M. favorable treatment because of his race.

Shedd Decl. ¶ 14; Carpenter Decl. ¶ 13. The bullying statute and school policy define bullying

to include expression or conduct that is based on a student’s race. 20-A M.R.S. § 6554(B)(3);

Shedd Decl. ¶ 3, Exhibit 1. While racially-motivated bullying is clearly illegal, proof of such a

motive is not necessary to a determination that bullying has occurred. Id. Whether motivated by

race or some other factor, behavior that interferes with the rights of a student by creating a

hostile educational environment or interferes with the student’s academic performance or ability

to participate in school is illegal. 20-A M.R.S. § 6554(B). While Student 1 and his parents did

not characterize their complaint as one of racial discrimination, the circumstances, including

A.M.’s references to his race, could support an inference of race-motivated bullying and also

evoke extremely egregious racial stereotypes.

       The bullying investigation included consideration of material obtained in interviews in

the investigation into whether there was a rapist in the school, as well as review of video

surveillance tapes to try to determine who was responsible for posting the notes. See Shedd

Decl. Ex. 3. The administration determined who posted the notes in the first floor bathroom as

the two students who did so admitted what they had done and explained that they had posted the

notes in response to the notes that had been posted earlier in the second floor bathroom. See

Shedd. Decl. ¶ 27; Carpenter Decl. ¶ 26.

       With respect to the notes posted in the second floor bathroom – the first notes that were

posted – several students reported to the administration that A.M. had told them that Student 1



                                                  4
    Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 5 of 24                                PageID #: 71




was a rapist, and several others reported that A.M. had been discussing the notes and had even

displayed pictures of herself with the notes. Shedd Decl. ¶ 14; Carpenter Decl. ¶¶ 11-13, 15.

Students also reported that A.M. had expressed frustration because she felt that administration

was protecting Student 1 because of his race. Shedd Decl. ¶ 14; Carpenter Decl. ¶ 13. Review

of video footage of the entrance to the second floor bathroom showed that A.M. was the only

person to enter the bathroom between the time when students who used that bathroom reported

not seeing notes and the time when they were found. Carpenter Decl. ¶ 14.

           Having learned this additional information, administrators interviewed A.M again.

Carpenter Decl. ¶ 14; Wolfrom Decl. ¶¶ 4-6; Stankard Decl. ¶ 12. In the second interview, she

falsely denied knowing anything about the notes as she had in her first interview. Carpenter

Decl. ¶ 14. After being informed that the school had video footage and statements from other

students, A.M. admitted that she had posted a note. Id. She disclosed that the person she

identified in the note as a “rapist” was Student 1. Stankard Decl. ¶ 15. She also expressed

frustration because she perceived that Student 1 was “idolized” by faculty at the school, in part

because of his race, even though she believed that there was a video of him committing a

horrendous act of sexual violence. Carpenter Decl. ¶ 14; Stankard Decl. ¶ 15. Finally, she said

the reason she posted the note was to “instill fear.” Carpenter Decl. ¶ 14; Stankard Decl. ¶ 17.

Administrators learned that in addition to posting the note in the bathroom, A.M. had taken and

disseminated a photo of the note2:




2
    This is a copy of a photo posted online that was apparently furnished to the media by A.M.

                                                           5
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 6 of 24                         PageID #: 72




       Having determined who posted the notes in both bathrooms, and that the notes were

intended to refer to Student 1, CEHS Principal Jeffrey Shedd and Assistant Principal Nate

Carpenter met on Thursday, September 26, 2019 to discuss what, if any, discipline should be

imposed on the three students who ultimately admitted to posting the notes in the two bathrooms.

Shedd Decl. ¶¶ 28-29; Carpenter Decl. ¶¶23-24. They were very concerned that the spreading of

the false allegations against Student 1 had significantly interfered with his right to attend, fully

participate in and benefit from school. Shedd Decl. ¶ 34. Principal Shedd and Assistant

Principal Carpenter agreed that the three students who posted the sticky notes and targeted

Student 1 should be suspended, and that they should also attend an educational session on

responsibly reporting suspected school violence. Carpenter Decl. ¶ 24.That day, they discussed

suspending A.M. for five days, one of the other students who posted the copycat notes for two

days, and the other student who posted the copycat notes for one day. Shedd Decl. ¶ 24.




                                                  6
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 7 of 24                      PageID #: 73




       On Monday, September 30, 2019, Principal Shedd told Assistant Principal Carpenter and

Superintendent Donna Wolfrom that over the weekend he had thought more about the

suspensions and decided that a three-day suspension was appropriate for A.M., and the two day

and one day suspensions were appropriate for the other students. Shedd Decl. ¶¶ 29-30. The

varying lengths of the suspensions reflected each student’s level of involvement in posting the

notes and targeting Student 1. Carpenter Decl. ¶ 26; Shedd Decl. ¶29.

       School Board procedure JICK-R requires that if bullying has been substantiated, the

building Principal will provide written notification to: “A. The parents/guardians of the targeted

student, including the measures being taken to ensure the student’s safety; and B. The

parents/guardians of the student found to have engaged in bullying, including the process for

appeal.” Upon making his decision as to the appropriate discipline for the three girls found to

have engaged in bullying behavior, Principal Shedd started trying to contact Student 1’s parents

to meet with them and discuss the results of the investigation. Shedd Decl. ¶ 31. After

attempting to reach them by telephone on October 1, 2019, he sent them an email on October 3,

2019 to communicate the results of the bullying investigation. Shedd Decl. ¶ 31 and Ex. 4. The

next day, October 4, 2019, Principal Shedd and Assistant Principal Carpenter met with the three

girls about their suspensions. Shedd Decl. Shedd Decl. ¶ 31 33; Carpenter Decl. Shedd Decl. ¶

3128. They met with the two other girls in the morning, and with A.M. and her mother in the

afternoon. The meeting with the girls took place after an article about A.M. appeared in the

press; however, the decision to suspend A.M. had been made on Thursday, September 26, 2019,

and the length of her suspension had been finalized on Monday, September 30, 2019, well in

advance of the publication of the article. Carpenter Decl. ¶ ¶ 24 – 28; Shedd Decl. ¶ 29-30; 32,

35.



                                                7
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 8 of 24                        PageID #: 74




                                          ARGUMENT

  I.   THE STANDARD FOR INJUNCTIVE RELIEF

       This Court analyzes a request for a temporary restraining order and a preliminary

injunction through application of four well-established factors:

       (1) the likelihood of the movant’s success on the merits; (2) the anticipated incidence of
       irreparable harm if the injunction is denied; (3) the balance of relevant equities (i.e., the
       hardship that will befall the nonmovant if the injunction issues contrasted with the
       hardship that will befall the movant if the injunction does not issue); and (4) the impact,
       if any, of the court’s action on the public interest.

L.L. Bean, Inc. v. Bank of America, 630 F. Supp. 2d 83, 86 (D. Me. 2009) (citing Borinquen

Biscuit Corp. v. M V Trading Corp., 443 F.3d 112, 115 (1st Cir.2006)).

       The party seeking the preliminary injunction bears the burden of establishing that these

four factors weigh in its favor. Id. (citing Esso Standard Oil Co. (Puerto Rico) v. Monroig-

Zayas, 445 F.3d 13, 18 (1st Cir. 2006)); Baldwin v. Bader, No. 07-46-P-H, 2008 WL 564642, at

*1 (D. Me. Feb. 28, 2008)). “This burden is a heavy one: ‘Because a preliminary injunction is an

extraordinary remedy, the right to relief must be clear and unequivocal.’” Id. (citing Friends of

Magurrewock, Inc. v. U.S. Army Corps of Engineers, 498 F.Supp.2d 365, 369 (D. Me. 2007)

(quoting Greater Yellowstone Coal. v. Flowers, 321 F.3d 1250, 1256 (10th Cir.2003)). See also

Baldwin, 2008 WL 564642, at *1 (“The court must ‘bear constantly in mind that an [i]njunction

is an equitable remedy which should not be lightly indulged in, but used sparingly and only in a

clear and plain case.’”) (quoting Saco Def Sys. Div. Maremont Corp. v. Weinberger, 606 F.

Supp. 446, 450 (D. Me. l985)).

       This Court has further explained that “[t]he sine qua non of the four part test is likelihood

of success on the merits: if the moving party cannot demonstrate that it is likely to succeed in its

quest, the remaining factors become matters of idle curiosity.” L.L. Bean, Inc., 630 F. Supp. 2d



                                                  8
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 9 of 24                        PageID #: 75




at 86 (citing Esso Standard Oil Co. (Puerto Rico), 445 F.3d at 18 (quoting New Comm Wireless

Servs., Inc. v. SprintCom, Inc., 287 F.3d 1, 9 (1st Cir. 2002)). See also McGuire v. Reilly, 260

F.3d 36, 42 (1st Cir. 200l) (stating that movant must show “a substantial likelihood of success on

the merits”). For the reasons set forth below, Plaintiff cannot satisfy the above standard in the

present case.

 II.     PLAINTIFF CANNOT SUCCEED ON THE MERITS OF HER FIRST
         AMENDMENT CLAIMS

         Count I of the Complaint is a claim for violation of A.M.’s First Amendment rights.

Plaintiff makes two separate arguments: (1) that the statement for which she was suspended—

“THERE’S A RAPIST IN OUR SCHOOL, AND YOU KNOW WHO IT IS”—is protected

speech, and (2) that the suspension was retaliation for her subsequent comments to the press.

These arguments are discussed separately below.

            A. The sticky note is not protected by the First Amendment.

         In order to prevail on a First Amendment retaliation claim, “[a] plaintiff must first prove

that (1) he or she engaged in constitutionally protected conduct, (2) he or she was subjected to an

adverse action by the defendant, and (3) the protected conduct was a substantial or motivating

factor in the adverse action.” D.B. ex rel. Elizabeth B. v. Esposito, 675 F.3d 26, 43 (1st Cir.

2012).

         Students have First Amendment free speech rights in school, but:

         [T]he First Amendment rights of students in the public schools “are not automatically
         coextensive with the rights of adults in other settings,” Bethel School District No. 403 v.
         Fraser, 478 U. S. 675, 682 (1986), and must be “applied in light of the special
         characteristics of the school environment.” Tinker, supra, at 393 U. S. 506; cf. New
         Jersey v. T.L.O., 469 U. S. 325, 341-343 (1985). A school need not tolerate student
         speech that is inconsistent with its “basic educational mission,” Fraser, supra, at 478 U.
         S. 685, even though the government could not censor similar speech outside the school.




                                                  9
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 10 of 24                          PageID #: 76




Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 266 (1988). Thus the Supreme Court and

lower courts have identified a number of circumstances in which student speech in school is not

protected by the First Amendment. For purposes of this case, the relevant limitations on student

speech rights include:

       Speech that is likely to disrupt the school environment. Tinker v. Des Moines Indep.

        Cmty. Sch. Dist., 393 U.S. 503, 509-510, 514 (assessing whether disruption was

        reasonably forecast).

       Speech that does in fact disrupt the school environment. Id. at 513.

       Speech that is defamatory. See, e.g., Time, Inc. v. Firestone, 424 U.S. 448, 457 (1976)

        (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 340 (1974)) (explaining that

        inaccurate and defamatory reports of fact do not deserve First Amendment protection).

       Speech that interferes with the rights of other students. Tinker, 393 U.S. at 513.

Each of these limitations on student speech rights applies to A.M.’s dissemination of unfounded

accusations of rape against another student and, therefore, the behavior was not protected by the

First Amendment.

   1. The Statement was inherently disruptive due to its extremely alarming nature.

        Tinker and numerous cases following Tinker have held that student speech is not

protected if school officials reasonably forecast that it is likely to cause substantial disruption or

material interference with school activities. Tinker, 392 U.S. at 509-510, 514.

        In this case, the statement itself, even without the substantial disruption that did in fact

occur, was incendiary and was inherently likely to disrupt the school environment. Like a bomb

threat or a false fire alarm, the assertion that a known rapist is walking the halls of the school

building is inherently alarming and very likely to cause disruption by instilling fear and anxiety


                                                  10
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 11 of 24                        PageID #: 77




among students, staff and others in the school community. See, e.g., Boim v. Fulton Cty. Sch.

Dist., 494 F.3d 978, 983 (11th Cir. 2007) (holding that ten-day suspension of student who made

threats of violence directed at her teacher in a notebook that she shared with a classmate was

justified under Tinker as the threats were reasonably likely to cause a material and substantial

disruption to the school); Cuff ex rel. B.C. v. Valley Cent. School Dist., 677 F.3d 109, 111, 123

(holding disruption was reasonably forecast when student turned in an assignment stating “blow

up the school with the teachers in it” even though student did not have capacity to carry out the

threat and argued that the statement was a joke).

       To avoid this conclusion, Plaintiff asks the Court to disregard the plain meaning of her

statement and to consider what she now claims were her motives and intent in disseminating it.

Her explanations and defense of her statement shifted from outright (false) denials that she made

the statement, Carpenter Dec. ¶¶ 8, 14, to an admission that she intended to instill fear in the

school, Carpender Decl. ¶14, Stankard Decl. ¶ 17, and finally to a tortured attempt by her

counsel to characterize the false accusation as a form of political advocacy. A.M. has no

credibility because she lied outright to administrators in two separate interviews when asked

about her role. This obstructed the administration in their investigations into the alleged

presence in school of a sexual offender and the bullying of Student 1. Whatever explanation we

choose to believe, however, they are all immaterial because what matters for purposes of

deciding whether the speech is protected is the plain meaning of the statement as understood by

others who read it or heard it.

       The U.S. Supreme Court has made it absolutely clear that the school’s reasonable

interpretation of a statement – not the motive or intent of the speaker – is what determines

whether the speech is protected by the First Amendment. In Morse v. Frederick, the Court



                                                 11
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 12 of 24                                       PageID #: 78




decided that a student’s banner proclaiming “BONG HiTS 4 JESUS,” was not protected speech

because the principal reasonably interpreted it as a pro-drug message, even though the student

claimed it “was just nonsense meant to attract television cameras.” 551 U.S. at 401. The Court

explained: “The dissent mentions Frederick’s ‘credible and uncontradicted explanation for the

message—he just wanted to get on television.’ But that is a description of Frederick’s motive for

displaying the banner; it is not an interpretation of what the banner says.” Id. at 402 (emphasis

added) (internal citations omitted). “[W]hat matters under Tinker is the reasonableness of the

school administrators’ forecast of disruption—not the student’s subjective intent behind the

speech.” R.L. v. Cent. York Sch. Dist., 183 F. Supp. 3d 625, 635–36 (M.D. Pa. 2016)

          In this case, unlike in Morse, the Court need not struggle with the meaning of the

student’s unambiguous statement: “There’s a rapist in our school, and you know who it is.” The

first clause is a plain statement (allegation) of fact: there is a person who has committed rape3

present in the school. The statement as a whole directly implies that the speaker knows who the

alleged rapist is, and the second clause directly implies that others know the identity of the

alleged rapist. A reasonable reader of this statement would interpret it to mean that a person

whose identity is known to the speaker and others has committed rape and is present in school.

A reasonable student or teacher reading or hearing the statement would be very alarmed and

upset by it. A reasonable administrator would be justified in forecasting that such a statement

was likely to disrupt the school community. For that reason alone, the statement is not protected

speech.



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 The Plaintiff’ attempts to argue that “rape” does not have its plain meaning but instead should be interpreted to
mean “a broad range of acts participating in, or contributing to, nonconsensual sexual activity.” Complaint ¶ 31.
Plaintiff is trying to defend her false and defamatory statement by reference to a political usage of the term by some
activists. While that notion may be gaining currency in some circles, the dictionary, and still prevailing, definition
of rape is an assailant’s nonconsensual penetration of the vagina or anus.
https://www.justice.gov/archives/opa/blog/updated-definition-rape

                                                          12
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 13 of 24                        PageID #: 79




   2. The statement was in fact disruptive

       Tinker and dozens of lower court decisions have repeatedly held that speech that is

disruptive to the school environment is not protected. See, e.g., Tinker, 392 U.S. at 513; Riseman

v. Sch. Comm. of City of Quincy, 439 F.2d 148, 149 (1st Cir. 1971) (“We recognize the duty of

school authorities to punish student conduct which ‘materially disrupts classwork or involves

substantial disorder or invasion of the rights of others’”); DeFabio v. E. Hampton Union Free

Sch. Dist., 623 F.3d 71, 78 (2d Cir. 2010) (explaining that student “speech may be restricted if

the speech will ‘materially and substantially disrupt the work and discipline of the school.’”)

       In this case, Plaintiff’s decision to post a sticky note in the second floor girls’ bathroom

unequivocally stating that “There’s is a rapist in the school” instilled fear and anxiety in

administrators and students. Carpenter Decl. ¶ 19. Within minutes of the notes being posted, a

very worried and concerned student brought the notes to Assistant Principal Carpenter, who in

turn was concerned about whether anyone in the school was in danger and whether there was in

fact a rapist roaming the halls of the school building. Carpenter Decl. ¶¶ 5- 6. He immediately

started talking with students to find out if they were in danger or if they knew anything about a

rapist being in the school. Carpenter Decl. ¶ ¶ 7-9.Without having any information other than

“There is a rapist in the school” and “you know who it is,” the administration conducted a

thorough investigation, which included interviewing 47 students; reviewing video footage of the

hallways; and reviewing video footage, in order to determine whether anyone was in danger and

whether there was in fact a rapist in school. The dissemination of the of the statement

interrupted the work of administrators for multiple hours over many days, interrupted the school

routines of the 47 students interviewed and spread fear in the student body. Indeed, a number of




                                                 13
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 14 of 24                      PageID #: 80




students expressed genuine concern about whether the school was safe in light of the sticky

notes. Carpenter Decl. ¶ 19.

       Furthermore, by targeting Student 1 with her sticky note, A.M. caused Student 1 to be

ostracized by his peers and made him feel unsafe going to school. Shedd Decl. ¶¶ 16 – 19;

Carpenter Decl. ¶¶ 2- 21.On Tuesday, September 17, 2019, the day after the notes were posted,

Student 1 went to the chorus room to eat his lunch as he ordinarily did. Shedd Decl. ¶ 17.

Within one minute of sitting down to eat his lunch, all of the other students in the chorus room

left. Student 1 also reported that while in chorus class that same afternoon, a classmate told him

that her mother had heard from other mothers that they did not want their daughters associating

with him. Later that day, another classmate of Student 1 told him that he did not have a future

and would not be able to get into college. Shedd Decl. ¶ 19. Thereafter, Student 1 missed eight

days of school. Shedd Dec. ¶ 39.

       All of the consequences of A.M.’s dissemination of the statements amounted to

substantial disruption of the educational environment for her peers, teachers, and administrators,

as well as the target of her reckless accusations. Because her statement set the disruption in

motion it is not protected speech under Tinker.

   3. The statement was defamatory.

       It is well-established that defamatory speech is not protected by the First Amendment.

Time, Inc. v. Firestone, 424 U.S. 448, 457 (1976) (citing Gertz v. Robert Welch, Inc., 418 U.S.

323, 340 (1974)) (explaining that inaccurate and defamatory reports of facts do not deserve First

Amendment protection). See also, Pan Am Sys., Inc. v. Atl. Ne. Rails & Ports, Inc., 804 F.3d 59,

65 (1st Cir. 2015) (citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 19 (1990)) (noting that

“[b]ecause they express the speaker’s subjective views (rather than implying that he possesses



                                                  14
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 15 of 24                                     PageID #: 81




objectively testable facts), they are First–Amendment protected—not so, obviously, if they imply

‘false assertion[s] of fact.’”).

         While there is relatively little case law addressing defamatory speech by students in

school, one case (cited by Plaintiff) illustrates that malicious, defamatory statements by one

student about another are unprotected. In Kowalski v. Berkeley County Schools, 652 F.3d 565

(4th Cir. 2001), the student plaintiff had created a web page falsely claiming that another student

had genital herpes and was a “slut” and a “whore.” The Court ruled that these “defamatory

accusations” were not protected speech, explaining:

         Given the targeted, defamatory nature of Kowalski's speech, aimed at a fellow classmate,
         it created “actual or nascent” substantial disorder and disruption in the
         school. See Tinker, 393 U.S. at 508, 513, 89 S.Ct. 733; Sypniewski v. Warren Hills Reg'l
         Bd. of Educ., 307 F.3d 243, 257 (3d Cir.2002) (indicating that administrators may
         regulate student speech any time they have a “particular and concrete basis” for
         forecasting future substantial disruption). First, the creation of the “S.A.S.H.” group
         forced Shay N. to miss school in order to avoid further abuse. Moreover, had the
         school not intervened, the potential for continuing and more serious harassment of Shay
         N. as well as other students was real. Experience suggests that unpunished misbehavior
         can have a snowballing effect, in some cases resulting in “copycat” efforts by
         other students or in retaliation for the initial harassment.

Kowalski v. Berkeley Cty. Sch., 652 F.3d 565, 574 (4th Cir. 2011). Calling Student 1 a “rapist”

with no factual basis no less damaging, and no less harmful, than the false allegations that the

student in Kowalski had a sexually transmitted disease and was a slut and a whore. As such, it is

not protected by the First Amendment.4 Plaintiff’s after-the-fact justifications are immaterial to

the legal issue.




4
 See also, Levinsky's, Inc. v. Wal-Mart Stores, Inc., 127 F.3d 122, 131 (1st Cir. 1997) (explaining that the “court
must evaluate a speaker’s statement as it was given and must resist the temptation to replace what was actually said
with some more innocuous alternative.”).

                                                         15
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 16 of 24                                  PageID #: 82




    4. The note is unprotected because it interfered with the rights of another student.

        The Supreme Court identified a separate category of unprotected speech in Tinker: that

which collides with or interferes with the rights of other students. Tinker at 512-13, 514. The

Ninth Circuit relied on this language when it held in Harper v. Poway Unified Sch. Dist., 445

F.3d 1166, 1178 (9th Cir. 2006), cert. granted, judgment vacated sub nom. Harper ex rel.

Harper v. Poway Unified Sch. Dist., 549 U.S. 1262 (2007),5 that anti-gay slurs were not

protected speech because they did in fact interfere with the rights of gay and lesbian students.

        A.M.’s unfounded statement interfered with Student 1’s reputational rights, as explained

above, and his right not to be bullied in school. Here, the school found that Plaintiff’s

dissemination of the allegation that Student 1 was a rapist constituted bullying in violation of

school policy and the law. Schools not only have an affirmative legal obligation to keep students

safe from sexual harassment and violence (A.M.’s concern), but also to keep them safe from

bullying. 20-A M.R.S. § 6554.6 The school has a compelling interest in preventing, remedying

and protecting students from bullying, and the school’s suspension of A.M. was necessary to

further that interest.

        To defend her behavior, A.M. goes to great lengths in her memorandum to argue that her

conduct was not bullying. She notes that the definition of bullying in state law refers to conduct

“directed at a student or students,” and argues that her conduct was not bullying because her

statement was not “directed at a student or students.” The administration convincingly found,

however, that the statement was in fact directed at Student 1, and that he was the victim of her




5
  Although the decision was vacated by the Supreme Court on the ground of mootness, its legal reasoning was not
questioned and remains compelling and persuasive.
6
  The fact that in the predominantly white community of Cape Elizabeth, the alleged victim was an African
American boy who was being accused of raping white girls, made this a particularly sensitive situation for the
District.

                                                       16
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 17 of 24                                      PageID #: 83




bullying. She also claims that bullying must be “severe and pervasive” to constitute bullying,

and that her posting of the unfounded accusation on a single day was not “severe and

pervasive.”7 There is no requirement, however, in state law or board policy that a bully’s

conduct be “severe and pervasive” in order to constitute bullying. A single, severe act, such as a

baseless allegation of rape, is sufficient to constitute bullying just as, analogously, a single act of

sexual assault is sufficient to constitute sexual harassment.

         Plaintiff’s argument egregiously minimizes the trauma she caused to Student 1. There is

no question here that Student 1 was recklessly accused of serious criminal conduct by A.M.,8 that

he was ostracized; and that he was unable to go to school as a result of A.M.’s accusation that

“there is a rapist in our school and you know who it is.” The one person who was seriously

harmed in this matter was Student 1. Any harm felt by A.M. was self-inflicted and resulted from

her reckless, misguided behavior, and it is unfortunate that she and her advocates so callously

dismiss the collateral damage her conduct has caused.

             B. A.M.’s statements to the media were not the reason for the suspension.

         A.M. also claims that the Defendants retaliated against her for speaking to the media as

reported in an article published in the Portland Press Herald on October 4, 2019. Whether or

not her statements to the media would be protected speech, this claim fails to satisfy the third

element of a First Amendment retaliation claim, which “necessitates proof of a causal connection

between the allegedly protected speech and the allegedly retaliatory response.” Gonzalez-Droz v.



7
  The Maine Human Rights Commission’s view on the definition of bullying has no persuasive authority in this
case. In the first place, to the extent the Maine Human Rights Commission is involved in bullying cases at all, those
cases address that part of the definition pertaining to protected status found in 20-A M.R.S. § 6554(2)(B)(3), not the
section pertaining to creation of a hostile environment found in § 655(2)(B)(2). In any case, the question here is
how the term bullying is defined under Cape Elizabeth School Board policy, which is not an issue within the
purview of the Maine Human Rights Commission.
8
  A.M. told administrators that Student 1 was depicted doing horrendous acts in a video even though that was not
true and she had never seen the video.

                                                         17
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 18 of 24                       PageID #: 84




Gonzalez-Colon, 660 F.3d 1, 16 (1st Cir. 2011). Here, there can be no causal connection because

the decision to suspend A.M. was made before the Press Herald article was published on

October 4th.

       In Gonzalez-Droz, the plaintiff argued that the licensing board’s decision to suspend his

medical license occurred after he engaged in two instances of protected speech and that the

temporal proximity between these two events supported a causal connection. Id. However, the

factual record showed that the licensing board made its decision to suspend the plaintiff’s license

on December 12, 2006, before he engaged in his first instance of protected speech on December

18, 2006. Id. The Court held that because the licensing board’s decision occurred before the

plaintiff engaged in his first instance of protected speech, the suspension could not plausibly be

viewed as retaliation. Id.

       Likewise, in this case, Principal Shedd decided to suspend A.M. days before the October

4, 219 Press Herald article. Mr. Shedd and his fellow administrators concluded the bullying

investigation on September 26, 2019 and made a decision to suspend all three students who had

posted sticky notes. Shedd Declaration, ¶ 28. He informed the Superintendent and Assistant

Principal of his final decisions on the suspensions on September 30, 2019. Id., ¶ 30. He did not

immediately inform the students of the suspensions because he wished to inform Student 1 and

his family of the result of the investigations first, which he did on October 3, 2019 – before the

Press Herald article was published. Id., ¶ 31. He drafted the suspension letters, according to his

computer, by 9:47 am on October 3, 2019. Id., ¶ 32. In sum, the Principal had decided on the

suspension before A.M. spoke to the media, and therefore his decision was not and could not

have been motivated by her doing so.




                                                 18
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 19 of 24                         PageID #: 85




       Apart from the fact that the Principal was not aware of A.M.’s statements to the media

when he made the decision, he and the administration have been consistent and explicit in stating

that the reason for the suspension was A.M.’s false statement that “there’s a rapist in our school

and you know who it is.” Plaintiff has produced no evidence or credible allegation that her

statements to the media were the reason for the suspension. Therefore, her claim that the

Defendants retaliated against her for speaking to the media fails.

III.   THE DEFENDANTS DID NOT RETALIATE AGAINST A.M. FOR MAKING A
       TITLE IX COMPLAINT

       In Count II of the Complaint, Plaintiff asserts a claim for Title IX retaliation. Title IX is

a federal spending clause statute that provides that “no person in the United States shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance.”

A plaintiff may prevail on a claim for Title IX retaliation by establishing “that she engaged in

activity protected by Title IX, that the alleged retaliator knew of the protected activity, that the

alleged retaliator subsequently undertook some action disadvantageous to the actor, and that a

retaliatory motive played a substantial part in prompting the adverse action.” Frazier v.

Fairhaven Sch. Comm., 276 F.3d 52, 67 (1st Cir. 2002). The sin qua none of a Title IX

retaliation claim, therefore, is a complaint of a violation of Title IX and that is exactly what is

missing in this case.

       Nowhere in her complaint filed in this case or her motion does Plaintiff allege that the

Cape Elizabeth School Department violated Title IX, nor does she articulate what Title IX

violation A.M. was complaining about.

       In fact, the statement on the sticky note – “THERE’S A RAPIST IN OUR SCHOOL

AND YOU KNOW WHO IT IS,” cannot, by any stretch of the imagination, be considered a

                                                  19
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 20 of 24                        PageID #: 86




Title IX complaint. There is nothing about that statement that suggests that the Cape Elizabeth

School Department has discriminated against anyone on the basis of sex. Rather, what the sticky

note charges is that there is a dangerous criminal present in the school.

       Nor could posting an anonymous sticky note be a legitimate means to make a Title IX

complaint. The School’s Board’s discrimination and harassment policies and procedures specify

how a complaint of sex discrimination should be made: by reporting their concern to any staff

member. School Board Procedure ACAA-R. A.M., according to her own statements, was very

aware of the school policies. If A.M. actually had information that the School Department was

engaged in sex discrimination, she could have – and should have – communicated that

information to the school by telling any staff member. Yet she did not do that. Instead, she

chose to post an anonymous sticky note in a bathroom – where she knew it would be seen by

students, not staff, -- accusing a fellow student of being a rapist.

       The Supreme Court has explained “[r]etaliation against a person because that person has

complained of sex discrimination is another form of intentional sex discrimination . . . retaliation

is discrimination ‘on the basis of sex’ because it is an intentional response to the nature of the

complaint: an allegation of sex discrimination.” Jackson v. Birmingham Bd. of Educ., 544 U.S.

167, 174 (2005). Here, as detailed above and in the declarations of the school administrators

involved, there is not one shred of evidence that A.M. was disciplined for complaining about sex

discrimination. Indeed, there is not one shred of evidence that anyone perceived that she

complained about sex discrimination. Rather, all of the evidence establishes that she was

disciplined because her unfounded accusations against a fellow student that so severely and

adversely affected him that he was unable to go to school. That is not Title IX retaliation; it is

responsible enforcement of the School Department’s bullying policy and its obligations to



                                                  20
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 21 of 24                                      PageID #: 87




protect all students. Plaintiff thus has no likelihood of succeeding on her Title IX retaliation

claim.



IV.      PLAINTIFF HAS NOT ESTABLISHED THAT A.M. WOULD BE
         IRREPARABLY HARMED IF A RESTRAINING ORDER IS NOT ISSUED

         This Court has explained that “a showing of irreparable harm must be ‘grounded on

something more than conjecture, surmise, or a party's unsubstantiated fears of what the future

may have in store.’” Maine Educ. Ass'n Benefits Tr. v. Cioppa, 842 F. Supp. 2d 386, 387–88 (D.

Me.), aff'd, 695 F.3d 145 (1st Cir. 2012) (quoting Charlesbank Equity Fund II v. Blinds to Go,

370 F.3d 151, 162 (1st Cir.2004)). “Thus, a preliminary injunction will not be issued simply to

prevent the possibility of some remote future injury. A presently existing actual threat must be

shown.” Grounds for Granting or Denying a Preliminary Injunction—Irreparable Harm, 11A

Fed. Prac. & Proc. Civ. § 2948.1 (3d ed.).

         In her motion, Plaintiff identifies the alleged harm to A.M. if an injunction is not granted

as (1) an imminent suspension starting October 15, 2019,9 and (2) remaining under a school

warning “that any future actions of this sort . . . may result in further and more severe

consequences up to and including suspension and possible expulsion.” Pl. Br. at 18. Plaintiff

argues that absent injunctive relief, she will lose her First Amendment freedoms, which will have

a chilling effect for A.M. and other students. Id. In fact, there is nothing irreparable about a

suspension. If this Court were to determine, after full consideration of the merits of Plaintiff’s

claim, that A.M. should not have been suspended, the suspension could be expunged from her

record. With respect to the second harm, Plaintiff does not accurately describe the school’s



9
  The effective date of the suspension was delayed by agreement of the parties until after this Court has had a chance
to rule on Plaintiff’s motion.

                                                         21
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 22 of 24                        PageID #: 88




warning, because she omits a significant portion—“She is hereby warned that any future actions

of this sort, directed to the student who was targeted in this instance or any other student,

may result in further and more severe consequences up to an including suspension and possible

expulsion.” Complaint Exhibit B (emphasis added). Thus, while the school’s warning prohibits

A.M. from targeting Student 1 or other students in the future in violation of the school’s bullying

policy, it in no way prohibits her from engaging in protected speech. Plaintiff therefore cannot

establish that she will suffer irreparable harm if a restraining order is not issued and her motion

should be denied for that reason as well.

 V.    THE BALANCE OF HARMS AND PUBLIC INTEREST WEIGH AGAINST
       INJUNCTIVE RELIEF

       In Epperson v. Arkansas, 393 U.S. 97, 104 (1968), the United States Supreme Court

warned that:

       Judicial interposition in the operation of the public school system of the Nation raises
       problems requiring care and restraint. . . . By and large, public education in our Nation
       is committed to the control of state and local authorities.
Plaintiff not only comes to the Court asking for judicial intervention in the operation of the Cape

Elizabeth School Department, her request is directly contrary to the public policy of the State of

Maine. That public policy with regard to bullying has been established by the Maine legislature

as follows:

       All students have the right to attend public schools that are safe, secure and peaceful
       environments. The Legislature finds that bullying and cyberbullying have a negative
       effect on the school environment and student learning and well being. These behaviors
       must be addressed to ensure student safety and an inclusive learning environment.

20-A M.R.S. §6554(1). In this case, the experienced school administrators who undertook a

careful investigation determined that A.M. bullied Student 1 and that as a result Student 1 could

not come to school. As Maine’s bullying law requires, they took appropriate remedial action and


                                                 22
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 23 of 24                      PageID #: 89




now Plaintiff’s motion for a temporary restraining order requests that this Court rescind that

action before a full consideration of this case on the merits. Taking such action on an interim

basis would be contrary to the public policy established by the Maine legislature, and would

interfere with the ability of school officials to protect students from bullying.

VI.    PLAINTIFF SHOULD BE REQUIRED TO POST SECURITY

       Rule 65(c) of the federal Rules of Civil Procedure states that “the court may issue a

preliminary injunction or a temporary restring order only if the movant gives security in an

amount that the court considers proper to pay the costs and damages sustained by the party found

to have been wrongfully enjoined or restrained. Plaintiff has not offered to post a bond but the

Court should order her to do so if it grants injunctive relief in this case



                                          CONCLUSION

       For all of the foregoing reasons, Plaintiff’s motion for a temporary restraining order

should be denied.


Dated: October 17, 2018.

                                                       /s/ Melissa A. Hewey
                                                       Melissa A. Hewey
                                                       Attorney for Defendants


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                                                  23
Case 2:19-cv-00466-LEW Document 9 Filed 10/17/19 Page 24 of 24                    PageID #: 90




                                CERTIFICATE OF SERVICE

I, Melissa A. Hewey, hereby certify that on October 17, 2019 I electronically filed the
above Memorandum of Law in Opposition to Motion for Temporary Restraining Order
with the Clerk of Court using the CM/ECF system which will send notifications of this
filing to all parties of record.

                                                    /s/ Melissa A. Hewey
                                                    Melissa A. Hewey
                                                    Attorney for Defendants




                                               24
